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 IN THE UNITED STATES DISTRICT COURT
 FOR THE WESTERN DISTRICT OF NEW YORK

   GINA KASE,

                                 Plaintiff,
                                                            Civ. Action No. 15-cv-06760-
          v.                                                CJS-MWP

   SERENITY HOMECARE, INC. and NORENE
   VORHIS, in her Official and Individual Capacity.

                                 Defendants.


          JOINT MOTION TO APPROVE THE SETTLEMENT AGREEMENT

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff and

defendants respectfully move this honorable court for review and approval of the settlement

agreement reached between the parties. This matter involves settlement of plaintiff’s claims

brought under the Fair Labor Standards Act, 29 U.S.C. §201 et seq., for unpaid wages against

defendants. In the settlement agreement, defendants seek dismissal of plaintiff’s claims with

prejudice. A copy of the settlement agreement and the reasons and authorities in support of this

motion are more fully described in the accompanying Memorandum in Support of The Parties’

Joint for Approval of the Settlement Agreement.

                                                    Respectfully Submitted,

                                                    /s/ Elizabeth Nicolas
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                                                    /s/ Jayla R. Lombardo
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Dated: Rochester, NY
March 30, 2018
